Case 1:03-cv-OO439-DWI\/| ECF No. 1 filed 07/02/03 Page|D.? Page 1 of 23

STATE OF MICHIGAN
IN THE UNITED STATED DISTRICT COURT FOR THE i-;:; gm _,2 nn [i; 56

WESTERN DISTRICT OF MICHIGAN _' ‘]…

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!£","ii.

TIMoTHY J. RYAN and L/< l t
CHRISTINE A. RYAN, /D’/ `
CASENo.; 1305(1\/04§9
Plaintiffs,
HON- David W . Pz?z:§€aaggue
V U. S. Dizta'ict Judge
ADELE MCGlNN-LooMls and MARY
BENEDICT,
Defendants.

 

COMPLAINT AND JURY DEMAND
Plaintiffs state:
PARTIES

1. Plaintiffs are residents of the City of Grand Rapids, Kent County, State of
Michigan, and are the natural parents of Claire Evelyn Ryan (Claire).

2. Defendant Adele McGinn-Loomis (Loomis) is a resident of the City of Grand
Rapids, Kent County, State of Michigan.

3. Defendant Mary Benedict (Benedict) is a resident of Kent County, State of
Michigan and is an attorney engaged in the practice of law within Kent County, State of Michigan.

JURISDICTION AND VENUE

4. This action is brought under 42 U.S.C. § 1983 to recover damages and to

otherwise redress a deprivation, under color of state law, rights guaranteed by the constitution of the

United States. This Court, therefore, has jurisdiction under 28 U.S.C. § 1343.

Case 1:03-cv-OO439-DWI\/| ECF No. 1 filed 07/02/03 Page|D.S Page 2 of 23

5. This action includes claims based upon state law that are so related to the 42
U.S.C. § 1983 claims that they form part of the same case or controversy. This Court, therefore, has
jurisdiction of the state law claims pursuant to 42 U.S.C. § 1367.

6. Because all defendants reside within Kent County, State of Michigan, venue is
in the United States District Court for the Westem District of Michigan is proper under 28 U.S.C. §
1331.

FACTUAL ALLEGATIONS
7. During the summer of 2001, Loomis conspired with plaintiffs’ then-minor

daughter, Claire, for Claire to run away from plaintiffs’ home.

8. On September 10, 2001, Claire ran away from plaintiffs’ home.

9. On or about September 16, 2001, Claire moved into Loomis’ home.

10. Loomis concealed Claire’s presence in her home from plaintiffs.

11. Loomis and Benedict conspired to file a petition for Loomis to become

Claire’s legal guardian.

12. On September 17, 2001 , plaintiff Timothy Ryan went to the Loomis’ home to
retrieve Claire (then sixteen years old), but was refused. Mr. Ryan was required to obtain police
assistance to regain his daughter from Loomis.

13. Loomis is currently and, at all relevant times, has been employed as a deputy

court clerk for the Kent County Circuit Court.

14. Before September 2000, the Kent County Probate Court was located at 1501

Cedar, N.E., Grand Rapids, Michigan.

Case 1:O3-cv-OO439-DWI\/| ECF No. 1 filed 07/02/03 Page|D.Q Page 3 of 23

15. Before September 2000, Loomis was employed as a clerk for the Kent County
Probate Court at 1501 Cedar, N.E., Grand Rapids, Michigan.

16. The Honorable Patricia D. Gardner is and, at all relevant times, has been a
Probate Court Judge assigned to the Family Division of the Kent County Circuit Court.

17. Before September 2000, the Honorable Patricia D. Gardner was a Probate
Court Judge, and her office and court room were located at 1501 Cedar, N.E., Grand Rapids,
Michigan.

18. On or about September 18, 2001 , Loomis contacted Benedict, and Loomis and
Benedict acted in concert to initiate legal action against plaintiffs

19. The purpose of the legal action referred to in the preceding paragraph was to
deprive the plaintiffs of their right to the care, custody and management of their minor child, Claire.

20. Benedict prepared three pleadings entitled a) Complaint for Return and
Divorce from Parents (attached as Exhibit A); b) Motion for Ex Parte Order Retuming Plaintiff to
Grand Rapids, Michigan, Temporary Restraining Order (attached as Exhibit B); and c) Ex Parte
Order Regarding Return of Plaintiff to Grand Rapids, Michigan (attached as Exhibit C).

21 . After the close of normal court business hours on September 19, 2001 , Loomis
contacted Judge Gardner at her home by telephone

22. During the telephone conversation referred to in the preceding paragraph,
Loomis and Judge Gardner engaged in ex parte communication regarding the proposed legal action
involving plaintiffs and Claire.

23. After the close of normal court business hours on September 19, 2001,

Benedict engaged in an ex parte communication with Judge Gardner regarding the proposed legal

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.lO Page 4 of 23

action involving the plaintiffs and Claire, and she presented to Judge Gardner the ex parte order
attached as Exhibit C. Benedict requested that Judge Gardner sign the ex parte order.

24. Before engaging in the ex parte conversations referred to in the preceding
paragraph, Benedict made no attempt to notify plaintiffs, either personally or through counsel, of her
intention to request that Judge Gardner sign the ex parte order attached as Exhibit C.

25. On September 19, 2001 , Judge Gardner signed two identical ex parte orders,
both attached as Exhibit C, at Benedict’s request.

26. When Judge Gardner signed the ex parte order attached as Exhibit C, there
was no case pending in the Kent County Circuit Court, or any other court, involving plaintiffs or
Claire.

27. On September 20, 2001, Benedict filed in the Kent County Circuit Court the
Complaint referred to in paragraph 20 and attached as Exhibit A.

28. The case was designated the Case No. of 01-09528-DF.

29. When Benedict filed the Complaint attached as Exhibit A she directed the

 

Kent County Circuit Court Clerk to assign the case to Judge Gardner. See Exhibit D.

30. The Kent County Circuit Court Clerk who received the Complaint attached as
Exhibit A for filing followed Benedict’s direction and assigned the case to Judge Gardner.

31 . Kent County Circuit Court Administrative Policy 1994-3, attached as M
E, prescribes the procedures for assigning matters that need the immediate attention of the court,
“without the prospect of, or even the appearance of judge-shopping.”

32. MCR 3.207 provides that the “court may issue an ex parte order . . . with

regard to any matter within its jurisdiction.”

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.11 Page 5 of 23

33. MCR 8.111(B) requires the random assignment of cases filed in Michigan
state courts. To wit: “All cases must be assigned by lot, unless a different system has been adopted
by local administrative order under the provisions of subrule 8.1 12.” No relevant local
administrative rule has been adopted.

34. There was no “matter” within the Kent County Circuit Court’s jurisdiction
when Judge Gardner signed the ex parte order attached as Exhibit C.

35. Benedict knew or should have known that there was no matter within the Kent
County Circuit Court’s jurisdiction when she presented the ex parte order to Judge Gardner.

36. Benedict knew or should have known that her direction to the court clerk who
accepted for filing the Complaint attached as Exhibit A violated Kent County Circuit Court
Administrative Policy 1994-3, MCR 3.207 and the required random assignment of judges to cases
provided for by MCR 8.111(B).

3 7. Upon information and belief, Loomis and Benedict acted in concert to misuse
Loomis’ position as a court clerk to avoid the normal and required random assignment of judges to
cases and, instead, inappropriately and illegally secured the appointment of J udge Gardner for their
lawsuit.

3 8. Loomis and Benedict conspired to misuse Loomis’ position as a court clerk to
gain ex parte access to Judge Gardner.

39. Upon information and belief, Benedict and Loomis made untruthful
disparaging comments about plaintiffs during their ex parte contacts with Judge Gardner.

40. The ex parte order that Judge Gardner signed contains the following recitation:

“The court has read and considered plaintiffs verified motion and affidavit.” See Exhibit C.

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.12 Page 6 of 23

41. At the time that Judge Gardner signed the ex parte order, there had been no
affidavit, verified complaint or other sworn testimony submitted in support of the relief sought in the
proposed ex parte order.

42. At the time that Judge Gardner signed the ex parte order, no complaint,
verified motion or other pleading involving the plaintiffs or Claire had been filed with the court.

43. Upon information and belief, Claire was not aware that Benedict had prepared
and filed the complaint attached as Exhibit A at the time that the complaint was filed.

44. Upon information and belief, Claire had not authorized Benedict to file the
complaint attached as Exhibit A at the time that the complaint was filed.

45. There is no cause of action for divorce from parents in Michigan.

46. Plaintiffs filed a motion to dismiss the complaint attached as Exhibit A, which
Judge Gardner granted.

47. Defendants knew or should have known that the complaint for divorce
attached as Exhibit A was a frivolous pleading

48. On October l, 2001 , Benedict filed a pleading entitled “Amended Complaint
for Declaration of Rights, Emancipation, Et Al” (hereinafter referred to as “the complaint for
emancipation”). A copy of the complaint for emancipation is attached as Exhibit F.

49. Count I of the complaint for emancipation is entitled “Emancipation” and was
purportedly based on MCL 722.4, et seq. See Exhibit F.

51 . The complaint for emancipation alleges that plaintiffs had enrolled Claire in a

“boot camp in the State of Utah.” See Exhibit F.

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.13 Page 7 of 23

52. Before filing the complaint for emancipation, Benedict had been served with
plaintiffs’ “Answer to Complaint for Return and Divorce from Parents.” Attached to that answer
was extensive literature regarding Cross Creek Manor, its programs and purposes. Plaintiffs made
the agonizing decision to send their very troubled daughter Claire to Cross Creek Manor in an effort
to help her with her problems.

53. The attachments to the answer referred to in the preceding paragraph
demonstrate that Cross Creek Manor is not a “boot camp.” lnstead, they show that Cross Creek
Manor is a highly regarded boarding school with a residential treatment center specifically designed
for girls.

54. When Benedict made the allegation that Claire was sent to “a boot camp in the
State of Utah,” she knew that the allegation was false.

55. The amended complaint includes an allegation that Claire “is financially able
to provide for herself.” See Exhibit F.

56. At the time that Benedict made the allegation referred to in the preceding
paragraph, she knew that Claire was not financially able to provide for herself.

57. At the time that Benedict made the allegation referred to in paragraph 53,
Benedict knew that the allegation was false.

58. As Benedict knew or should have known, MCL 722.4a requires a petition for
emancipation to be “signed and verified by the minor.”

59. At the time that the complaint for emancipation attached as Exhibit F was
filed, it was signed only by Benedict. lt was not signed and verified by Claire.

60. No signed and verified emancipation petition has ever been filed.

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.14 Page 8 of 23

61. As Benedict knew or should have known, MCL 722.4a requires that an
emancipation petition include “a declaration by the minor indicating that he or she has demonstrated
the ability to manage his or her financial affairs.”

62. No emancipation petition has ever been filed which includes a declaration by
Claire that she has demonstrated the ability to manage her financial affairs.

63. As Benedict knew or should have known, under MCL 722.4a, an
emancipation petition shall include an affidavit by a physician, nurse, member of the clergy,
psychologist, family therapist, certified social worker, social worker, social work technician, school
administrator, school counselor, teacher, law enforcement officer or duly regulated child care worker,
and the affidavit must declare that the individual has personal knowledge of the minor’s
circumstances and that the individual believes that under those circumstances emancipation is in the
best interest of the minor.

64. No such affidavit as described in the preceding paragraph has ever been filed
in support of an emancipation of Claire.

65. Upon information and belief, before filing the complaint for emancipation,
Benedict, acting on her own and/or through others, sought to obtain affidavit(s), as described in
paragraph 61 , and was unsuccessful in obtaining such affidavits

66. As Benedict knew or should have known, under MCL 722.4c, the court shall
issue an emancipation order only if the minor establishes, among other things, that an objecting
parent or guardian is not providing the minor with support.

67. At the time that Benedict filed the complaint for emancipation, she knew that

plaintiffs objected to an emancipation of their minor child Claire.

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.15 Page 9 of 23

68. At the time that Benedict filed the complaint for emancipation, she knew that
Claire was enrolled at Cross Creek Manor and Was receiving room, board, education and counseling
services there. Benedict also knew that plaintiffs were paying all expenses associated with Claire’s
attendance at Cross Creek Manor.

69. Count ll of the complaint for emancipation is entitled “Abuse and Neglect.”
See Exhibit E.

70. As Benedict knew or should have known, MCL 712A.1 1 requires that a
petition alleging abuse and neglect be verified.

71. The complaint for emancipation was signed only by Benedict. It was never
verified. See Exhibit F.

72. As Benedict knew or should have known, MCL 712A.11 requires that an
abuse and neglect petition “set forth plainly the facts” which allegedly constitute abuse and neglect.

73. Paragraph 45 of the complaint for emancipation lists the conduct which

Benedict alleges constitutes parental abuse and neglect as follows:

A. That upon information and belief the [Claire] was told to leave her parents
home;
B. That upon information and belief the [plaintiffs] are not interested in [Claire]

residing in their home and are not willing to enter into a Guardianship plan;

C. That the [plaintiffs] have forcefully enrolled [Claire] in a boot camp for
troubled children, when [Claire] is not a troubled child;

D. That said boot camp program is likely to be more harmful to [Claire] rather
than helpful; '
lE. l That upon information and belief the [plaintiffs] are not willing to engage in

services to assist in reuniting [Claire] with the family;

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.16 Page 10 of 23

F. That the parties were involved with Catholic Social Services Early Impact
program, but [plaintiff Christine Ryan] terminated the involvement after the
child was told to leave the [plaintiffs’] home.

74. The prayer for relief under Count II of the complaint for emancipation requests
that the court “order that [Claire] is a temporary ward of the State,” and “determine suitable
placement for her and terminate the [plaintiffs’] parental rights.” See Exhibit F.

75 . At the time that Benedict signed the complaint for emancipation, she knew
that the program at Cross Creek Manor included individual and group counseling for Claire, and
family counseling that would include Claire, her parents and her siblings.

76. At the time that Benedict signed the complaint for emancipation, she knew
that plaintiff Timothy Ryan had utilized police assistance to regain his daughter from the Loomis
household.

77. Benedict is an experienced family law practitioner, and as such she could not
have had a good faith belief that the allegations of paragraph 45 in the complaint for emancipation,
even if true, could constitute parental abuse and neglect justifying the termination of parental rights
and the making of children wards of the State.

78. On December 12, 2001 , Benedict filed a Petition for Appointment of Guardian
of Minor. The petition falsely states that “the parents permit the minor to reside with another
person.” A copy of the Petition for Appointment of Guardian is attached as Exhibit G.

79. At a hearing held on December 13, 2001 , Benedict announced to the court
that, because she had filed a “Petition for Appointment of a Guardian of Minor,” she expected to

dismiss the complaint for emancipation,

10

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.17 Page 11 of 23

80. Under Michigan law, a Michigan State Court does not have jurisdiction of an
abuse and neglect petition which alleges violation(s) of MCL 712A.2(b), and which requests
placement of the child, unless the court first conducts an evidentiary hearing and, based upon
evidence adduced at that hearing, concludes that there is probable cause to believe that one or more
of the allegations of the petition are true and fall within MCL 712A.2(b). See In re Hatcher, 443
Mich 426; 505 NW2d 834 (1993).

81 . Judge Gardner never conducted any such evidentiary hearing as described in
the preceding paragraph.

82. Judge Gardner never made any finding that there was probable cause to
believe that any allegation of Count ll of the complaint for emancipation attached as Exhibit F was
true.

83. Judge Gardner never concluded that any allegation of the complaint for
emancipation, even if true, fell within MCL 712A.2(b).

84. At a hearing held on October 8, 2001, Judge Gardner claimed that “based on
the conflicting allegations that have been made in this case,” she had jurisdiction to appoint a
guardian ad litem.

85. At the hearing held on October 8, 2001, Judge Gardner appointed Judith
Ostrander (Ostrander) as Claire’s guardian ad litem.

86. Ostrander accepted the appointment as guardian ad litem.

87. Ostrander prepared a guardian ad litem report dated October 16, 2001.

88. There was never any evidence presented to the court in support of the

allegations made in the complaint for emancipation attached as Exhibit F.

11

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.18 Page 12 of 23

89.

90.
preceding paragraph

91.

Judge Gardner ordered the following things in Case No. 01-09528-DZ:

A. That plaintiffs return Claire to Grand Rapids from Cross Creek
Manor.

B. That Claire reside with a person named Nancy Truel.

C. That Claire attend Forest Hills Central High School.

D. That Benedict be appointed Claire’s Attomey .

E. That Claire participate in counseling with Judith Lowery Baars.
F. That plaintiffs attend counseling with Judith Lowery Baars.

G. That the plaintiffs have only limited parenting time with Claire,

Judge Gardner had no jurisdiction to issue the orders described in the

In seeking the orders described in paragraph 78, Benedict, in conspiracy with

Loomis, failed to comply with the following requirements of Michigan law:

A.

The requirement of MCR 3.207, that motions for ex parte orders be
accompanied by verified complaints and affidavits

The requirement of MCL 722.4a(1) that an emancipation petition be signed
and verified by the minor.

The requirement of MCL 722.4a(1)(e) that an emancipation petition include a
declaration by the minor indicating that he or she has demonstrated the ability

to manage his or her financial affairs

The requirement of MCL 722.4a(2) that an emancipation petition be
accompanied by an affidavit by one of the thirteen enumerated processionals

The requirement of MCL 712A.11 that an abuse and neglect petition be
verified.

12

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.19 Page 13 of 23

F. The requirement of MCR 5.965 and In Re Hatcher, supra, that the circuit
court not take jurisdiction of abuse and neglect cases unless it conducts a
preliminary hearing and makes a finding of probable cause.

92. Under duress, plaintiffs agreed to permit Claire to reside with Joan Holmes.

93. At the request of loan Holmes and her attomey, plaintiffs agreed to a

guardianship with Joan Holmes as guardian for Claire.

COUNT I
AGAINST ADELE-MCGINN LOOMIS

42 USC § 1983

94. Plaintiffs restate the allegations of the preceding paragraphs

95. Loomis is a court employee and her actions with regard to the assignment of
Judge Gardner to Case No. 01-09528-DZ and the use of her position to gain ex parte access for
herself and Benedict to Judge Gardner constituted state action and were done under color of state
law.

96. Loomis, in conspiracy with Benedict, misused her position as a court
employee to deprive plaintiffs of their right to a randomly assigned judge in Case No. 01-09528-DZ,
and she secured the appointment of that case to the judge of her choice, Judge Gardner.

97. Loomis, in conspiracy with Benedict, misused her position as a court
employee to gain improper ex parte access to Judge Gardner.

98. Plaintiffs have a fundamental right protected by the United States Constitution
to the companionship, care, custody and management of their children.

99. Plaintiffs have a fundamental right protected by the United States Constitution
to a fair and impartial judge randomly assigned pursuant to established procedures in any legal

proceeding to which they are party.

13

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.2O Page 14 of 23

100.

Loomis, in conspiracy with Benedict, deprived plaintiffs of the rights

described in paragraphs 98 and 99.

101.

Loomis, in conspiracy with Benedict, abused the legal process and maliciously

prosecuted frivolous divorce, emancipation, and abuse and neglect claims against plaintiffs for the

purpose of depriving plaintiffs of their fundamental constitutional rights as described in paragraphs

98 and 99 to procure improper interim orders, and using the frivolous claims as a means to coerce

plaintiffs to agree to a guardianship arrangement for Claire.

102.

As a result of Loomis’ acts, as described in this complaint, plaintiffs have

suffered damages, including but not limited to:

A.

B.

C.

D.

E.

Economic damage.
Humiliation.
Embarrassment.
Mortification.

Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against Loomis iri an

amount to be determined that will fairly and adequately compensate them for their injuries, along

with their costs and attorneys fees incurred in prosecuting this action.

103.

COUNT II
AGAINST MARY BENEDICT

42 USC § 1983

Plaintiffs restate the previous allegations

104. Benedict is an attorney licensed to practice law in Michigan.

14

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.21 Page 15 of 23

105. Benedict, in conspiracy with Loomis, secured the inappropriate and illegal
assignment of Judge Gardner to Case No. 01-09528-DZ, and she conspired with Loomis to use
Loomis’ position as a court clerk to gain ex parte access to Judge Gardner. This conspiracy between
j Benedict and Loomis constituted state action and was done under color of state law.

106. Benedict, in conspiracy with Loomis, misused Loomis’ position as a court
employee to deprive plaintiffs of their right to a randomly assigned judge in Case No. 01-09528-DZ,
and they illicitly secured the appointment of the judge of their choice, Judge Gardner.

107. Benedict, in conspiracy with Loomis, misused Loomis’ position as a court
employee to gain improper ex parte access to Judge Gardner.

108. Plaintiffs have a fundamental right protected by the United States Constitution
to the companionship, care, custody and management of their children.

109. Plaintiffs have a fundamental right protected by the United States Constitution
to a fair and impartial judge randomly assigned pursuant to established procedures in any legal
proceeding to which they are party.

110. Benedict, in conspiracy with Loomis, deprived plaintiffs of the rights
described in paragraph 108 and 109.

1 1 1 . Benedict, in conspiracy with Loomis, abused the legal process and maliciously
prosecuted frivolous divorce, emancipation, and abuse and neglect claims against plaintiffs for the
purpose of depriving plaintiffs of their fundamental constitutional rights, as described in paragraph
108 and 109, by procuring improper interim orders, and using the frivolous claims as a means to

coerce plaintiffs to agree to a guardianship arrangement for Claire.

15

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.22 Page 16 of 23

112. As a result of Benedict’s acts, as described in this complaint, plaintiffs have

suffered damages including but not limited to:

A. Economic damage.
B. Humiliation.
C. Embarrassment.

D. Mortification.

E. Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against Benedict in an
amount to be determined that will fairly and adequately compensate them for their injuries, along
with their costs and attorneys fees incurred in prosecuting this action.

COUNT III
AGAINST ADELE MCGINN-LOOMIS AND MARY BENEDICT
CONSPIRACY UNDER 42 USC § 1983

l 13. Plaintiffs restate the previous allegations

114. Benedict and Loomis conspired to secure the inappropriate and illegal
assignment of J udge Gardner to Case No. 01 -09528-DZ, and they conspired to use Loomis’ position
as a court clerk to gain ex parte access to Judge Gardner. This conspiracy between Benedict and
Loomis constituted state action and was done under color of state law.

115. Benedict and Loomis conspired to misuse Loomis’ position as a court
employee to deprive plaintiffs of their right to a randomly assigned judge in Case No. 01 -09528-DZ,
and they illicitly secured the appointment of the judge of their choice, Judge Gardner.

116. Benedict and Loomis conspired to misuse Loomis’ position as a court

employee to gain improper ex parte access to Judge Gardner.

16

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.23 Page 17 of 23

1 17. Plaintiffs have a fundamental right protected by the United States Constitution
to the companionship, care, custody and management of their children.

1 18. Plaintiffs have a fundamental right protected by the United States Constitution
to a fair and impartial judge randomly assigned pursuant to established procedures in any legal
proceeding to which they are party.

119. Benedict, in conspiracy with Loomis, deprived plaintiffs of the rights
described in paragraph 117 and 118.

120. Benedict and Loomis conspired to abuse the legal process and maliciously
prosecute frivolous divorce, emancipation, and abuse and neglect claims against plaintiffs for the
purpose of depriving plaintiffs of their fundamental constitutional rights, as described in paragraph
117 and 118, by procuring improper interim orders, and using the frivolous claims as a means to
coerce plaintiffs to agree to a guardianship arrangement for Claire.

121. As a result of defendants’ acts, as described in this complaint, plaintiffs have

suffered damages, including but not limited to:

A. Economic damage
B. Humiliation.
C. Embarrassment.

D. Mortification.

vE. Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against defendants
jointly and severally, in an amount to be determined that will fairly and adequately compensate them

for their injuries, along with their costs and attorneys fees incurred in prosecuting this action.

17

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.24 Page 18 of 23

COUNT IV
AGAINST ADELE MCGINN-LOOMIS AND MARY BENEDICT
COMMON LAW MALICIOUS PROSECUTION

122. Plaintiffs restate the previous allegations

123. Case No. 01-09528-DZ terminated with a dismissal of all claims against
plaintiffs

124. Defendants proceeded with their claims in Case No. 01-09528-DZ even
though they had knowledge that those claims had no legal or factual basis

125. Defendants purpose in filing the claims in Case No. 01-09528-DZ was not to
secure an adjudication on the actual claims made, but rather to separate Claire from her family by
securing improper interim orders and to utilize the litigation process as a means to harass plaintiffs
and to coerce plaintiffs to agree to a guardianship arrangement for Claire.

126. By reason of defendants’ malicious prosecution of their claims in Case No.
01-09528-DZ, plaintiffs have suffered a deprivation of their right to the care, custody, and
companionship of their daughter, and this constitutes special injury.

127. By reason of defendants’ illicit avoidance of the random draw process for
judicial assignments and their engaging in improper ex parte communication with Judge Gardner,
plaintiffs were deprived of their constitutional right to a fair and impartial judge, and this constitutes
special injury.

128. By reason of defendants’ malicious prosecution of Case No. 01 -095280-DZ,
plaintiffs have suffered damages, including but not limited to:

A. Economic damage.

B. Humiliation.

18

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.25 Page 19 of 23

C. Embarrassment.

D. Mortification.

E. Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against defendants
jointly and severally, in an amount to be determined that will fairly and adequately compensate them
for their injuries along with their costs and attorneys fees incurred in prosecuting this action.

COUNT V
AGAINST ADELE MCGINN-LOOMIS AND MARY BENEDICT
STATUTORY MALICIOUS PROSECUTION

129. Plaintiffs restate the previous allegations
130. MCL 600.2907 is a Michigan Statute which states as follows:

Every person who shall, for vexation and trouble or maliciously,
cause or procure any other to be arrested, attached, or in any way
proceeded against, by any process or civil or criminal action, or in any
other manner prescribed by law, to answer to the suit or prosecution
of any person, without the consent of such person, or where there is
no such person known, shall be liable to the person so arrested,
attached or proceeded against, in treble the amount of the damages
and expenses which, by any verdict, shall be found to have sustained
and incurred by him; and shall be liable to the person in whose name
such arrest or proceeding was had in the sum of $200.00 damages
and shall be deemed guilty of a misdemeanor, punishable on
conviction by imprisonment in the county jail for a term not
exceeding 6 months

13 l . The divorce, emancipation, and abuse and neglect claims in Case No. 01 -
09528-DZ were filed naming Claire as plaintiff and Timothy Ryan and Christine Ryan as defendants
132. Upon information and belief, the divorce, emancipation and abuse and neglect

claims in Case No. 01-09528-DZ were filed without the prior knowledge of Claire,

19

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.26 Page 20 of 23

133. Upon information and belief, the divorce, emancipation, and abuse and neglect
claims in Case No. 01-09528-DZ were filed without the prior consent of Claire

134. The divorce, emancipation, and abuse and neglect claims of Case No. 01-
09528-DZ were filed for the purpose of causing plaintiffs vexation and trouble

135. Case No. 01-09528-DZ was filed in violation of MCL 600.2907.

136. Under MCL 600.2907, plaintiffs are entitled to treble their actual damage

137. By reason of defendants’ malicious prosecution of Case No. 01-09528-DZ

plaintiffs have suffered damages including but not limited to:

A. Economic damage
B. Humiliation.
C. Embarrassment.

D. Mortification.

E. Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against defendants
jointly and severally, in an amount to be determined that will fairly and adequately compensate them
for their injuries along with their costs and attorneys fees incurred in prosecuting this action.

COUNT VI
AGAINST ADELE MCGINN-LOOMIS AND MARY BENEDICT
ABUSE OF PROCESS
138. Plaintiffs restate the previous allegations
139. Defendants’ ulterior purpose in making the claims in Case No. 01-09528-DZ

was to effectuate a separation of Claire from her family by securing improper interim orders and

coercing plaintiffs to agree to a guardianship arrangement

20

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.27 Page 21 of 23

140. By filing and prosecuting the frivolous claims in Case No. 01-09528-DZ for
the purpose of using the expense and vexation of litigation as a means to coerce plaintiffs to agree to
a guardianship for their daughter, defendants made an irregular use of process

141. By reason of defendants’ abuse of process in Case No. 01 -09528-DZ,

plaintiffs have suffered damages including but not limited to:

A. Economic damage
B. Humiliation.
C. Embarrassment.

D. Mortification.

E. Severe emotional distress

Wherefore, plaintiffs request that they be awarded judgment against defendants
jointly and severally, in an amount to be determined that fairly and adequately compensates them for
their injuries along with their costs and attorneys fees incurred in prosecuting this action.

COUNT VII
AGAINST ADELE MCGINN-LOOMIS AND MARY BENEDICT

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

142. Plaintiffs restate the previous allegations

143. Defendants’ conduct as described in this complaint was extreme and
outrageous

144. Defendants’ conduct as described in this complaint was committed
intentionally or at least recklessly.

145. As a result of defendants’ conduct as described in this complaint, plaintiffs

have suffered severe emotional distress

21

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.28 Page 22 of 23

146. By reason of defendants’ intentional infliction of emotional distress plaintiffs

have suffered damages including but not limited to:

A. Economic damage
B. Humiliation.
C. Embarrassment.

D. Mortification.
E. Severe emotional distress
Wherefore, plaintiffs request that they be awarded judgment against defendants
jointly and severally, in an amount to be determined that will fairly and adequately compensate them
for their injuries along with their costs and attorneys fees incurred iri prosecuting this action.
Miller, Johnson, Snell & Cummiskey, P. L. C.

l Attorneys Plaintiffs
Dated~ _ , 2003 y/M

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22

Case 1:O3-cV-OO439-DWl\/| ECF No. 1 filed 07/02/03 Page|D.29 Page 23 of 23

Dated:

2003

JURY DEMAND

Plaintiffs request a trial by jury of all claims raised in this complaint.

Miller, Johnson, Snell & Cummiskey, P. L. C.

Attomeys for Plaintiffs
By 14 iQM-a-OM

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23

